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                                                                                                FILED
                        IN THE UNITED STATES DISTRICT COURT FOP TRF."                      TNOPENCqURT_


                                EASTERN DISTRICT OF VIRGINIA                                            2019

                                          Alexandria Division                         CLERK, U.S. DISTRICT COURT
                                                                                         ALEXANDRIA, VIRGINIA

UNITED STATES OF AMERICA                                    Criminal No. l:19-CR-304(LMB)

                 V.                                         Count One: 18 U.S.C. § 793(d)
                                                            Willful Transmission of
HENRY KYLE FRESE                                            National Defense Information


                   Defendant.                               Count Two: 18 U.S.C. § 793(d)
                                                            Willful Transmission of
                                                            National Defense Information




                                              INDICTMENT
                                                                    UNDER SEAL
                               OCTOBER 2019 TERM - At Alexandria


       THE GRAND JURY CHARGES THAT:


       At all times material to this Indictment, except as otherwise indicated:

                                          General Allegations


                                              The Defendant


        1.       Defendant Henry Kyle Frese("FRESE")resided in the Eastern District of

Virginia.

       2.        FRESE was an employee of the Defense Intelligence Agency ("DIA"), located in

the Eastern District of Virginia.

                                              Classified Information


       3.        Pursuant to Executive Order 12958 signed on April 17, 1995, as amended by

Executive Order 13292 on March 25, 2003, and Executive Order 13526 on December 29, 2009,

national     security    information    was    classified    as "TOP     SECRET," "SECRET," or
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